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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TENNESSEE
                             EASTERN DIVISION
______________________________________________________________________________

CESAR GALLARDO,
individuals on behalf of himself and
others similarly situated,
                                                               No._________________
               Plaintiffs,

v.

LOS PORTALES BOLIVAR LLC,
LOS PORTALES HENDERSON LLC,
and TOMAS LEON, and ROY SALVADOR                               JURY DEMAND
                                                               FLSA COLLECTIVE ACTION
               Defendants.


                             COLLECTIVE ACTION COMPLAINT


       PLAINTIFF, Cesar Gallardo, brings this action against the Defendants on behalf of

himself and all others similarly situated.

                               I. JURISDICTION, AND VENUE

       1.      This case arises under the Fair Labor Standards Act of 1938, 29 U.S.C. § 201 et

seq.

       2.      The Court has subject matter jurisdiction pursuant to the Fair Labor Standards Act

of 1938, 29 U.S.C. § 216(b) and 28 U.S.C. § 1331.

       3.      The Court has personal jurisdiction over the Plaintiff, who is a resident of this

judicial district and the Defendants, who do business in the State of Tennessee.

       4.      Venue also lies in this Western District of Tennessee, pursuant to 28 U.S.C. §

1391, because the Defendants do business in this district, and a substantial part of the alleged

events or omissions giving rise to this action occurred in this district.

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                                        II.    PARTIES

        5.     Plaintiff Cesar Gallardo is a former employee of Los Portales Bolivar, LLC and

Los Portales Henderson, LLC. Plaintiff worked for Los Portales Bolivar, LLC and Los Portales

Henderson, LLC within both the two and three year statute of limitations under the FLSA.

During his employment with Defendants, Plaintiff was a covered employee under the FLSA.

        6.     Defendants Los Portales Bolivar, LLC and Los Portales Henderson, LLC are

businesses engaged in a commercial enterprise and, as such, are covered employers under the

FLSA.

        7.     Defendant Tomas Leon (hereinafter “Defendant Leon”), at all times material

hereto, served as the administrator/manager of Defendants Los Portales Bolivar, LLC and Los

Portales Henderson, LLC, directing the work of Plaintiff. Defendant Leon acted directly and/or

indirectly in the interest of and on behalf of Defendants Los Portales Bolivar, LLC and Los

Portales Henderson, LLC with regard to Plaintiff and other similarly situated employees and is

responsible in whole or in part for the violations of the FLSA discussed herein.

        8.     Defendant Roy Salvador (hereinafter “Defendant Salvador”), at all times material

hereto, served as owner/manager of Defendants Los Portales Bolivar, LLC and Los Portales

Henderson, LLC, directing the work of Plaintiff. Defendant Salvador acted directly and/or

indirectly in the interest of and on behalf of Defendants Los Portales Bolivar, LLC and Los

Portales Henderson, LLC with regard to Plaintiff and other similarly situated employees and is

responsible in whole or in part for the violations of the FLSA discussed herein.

        9.     Defendants, Los Portales Bolivar, LLC, Los Portales Henderson, LLC, Tomas

Leon, and Roy Salvador will be collectively referred to as Defendants throughout.

        10.    In addition to the named Plaintiffs, Defendants employ and have employed within



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the last three years additional similarly situated employees.

                                    III.    INTRODUCTION

       11.     This is a collective action under the Fair Labor Standards Act , 29 U.S.C. § 201 et

seq. (“FLSA”), brought on behalf of other employees of Defendants who were denied overtime

and minimum wage compensation.             The collective action claims are for minimum wage

compensation, overtime compensation, liquidated damages, interest, and attorneys’ fees and

costs pursuant to the FLSA, 29 U.S.C. §§ 207, 216(b).

                             IV.     FACTUAL BASIS FOR SUIT

       12.     Plaintiff brings this action on behalf of himself and other similarly situated

employees as authorized under 29 U.S.C. § 216(b). Plaintiff’s consent to be a party to this

collective action pursuant to 29 U.S.C. § 216(b) is attached to the Complaint.

       13.     During the employment of Plaintiff and other similarly situated employees with

Defendants, he was neither paid the federally mandated minimum wage nor proper overtime

compensation pursuant to the FLSA. Plaintiff and other similarly situated employees were

hourly non-exempt employees.

       14.     Plaintiff regularly and repeatedly worked in excess of forty (40) hours per week

while employed by Defendant. On pay day, Defendants would not pay Plaintiff for all hours

worked, including minimum wage and overtime compensation.             Instead, Defendants would

provide Plaintiff with a payroll check (not in the correct amount), which Defendants would

require Plaintiff to endorse and immediately returned to Defendants. Plaintiff would then receive

cash in a lesser amount from Defendants.

       15.     Likewise, other similarly situated employees regularly and repeatedly suffered

from the same pay practices by Defendants, which denied them proper minimum wage and



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overtime compensation for all hours worked.

       16.     Non-exempt employees who work more than forty (40) hours per week are

entitled to overtime compensation for those hours worked in excess of forty (40). 29 C.F.R. §

778.101.

       17.     Under the Fair Labor Standards Act, “overtime must be compensated at a rate not

less than one and one-half times the regular rate at which the employee is actually employed”

during the first forty (40) hours of work. 29 C.F.R. § 778.107.

       18.     When Plaintiff worked more than forty (40) hours during a week, Defendants did

not compensate him at a rate of “one and one-half times the regular rate at which he was actually

employed” for the first forty (40) hours of work. See 29 C.F.R. § 778.107.

       19.     When Plaintiff worked less than forty (40) hours per week, Defendants did not

compensate Plaintiff or similarly situated employees at the federally mandated minimum wage.

       20.     Defendants failed to pay Plaintiff and other similarly situated employees proper

minimum wage and overtime compensation.

       21.     Plaintiff reported Defendants’ FLSA violation to the Department of Labor in

December 2015.

       22.     When Defendants became aware of Plaintiff’s report to the Department of Labor,

Defendants terminated Plaintiff’s employment.

       23.     Defendants’ intentional failure to pay Plaintiff and other similarly situated

employees all of their wages is a willful violation of the FLSA within the meaning of 29 U.S.C.

§ 255(a), as Defendants knew, or showed reckless disregard for the fact that its compensation

practices were in violation of these laws.

       24.     This action is maintainable as an “opt-in” collective action pursuant to 29 U.S.C.



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§216(b) as to claims for minimum wage, overtime compensation, liquidated damages, interest,

attorneys’ fees and costs under the FLSA. In addition to Plaintiff, numerous current and former

employees of Defendants are similarly situated to Plaintiff with regard to their wages and

damages, in that they have been denied proper minimum wage and overtime compensation for at

least six (3) years prior to the filing of this complaint. Plaintiff is representative of those other

current and former employees and is acting on behalf of their interests as well as Plaintiff’s own

interests in bringing this action. Those similarly situated employees are known to Defendants

and are readily identifiable, and may be located through Defendants’ records. These similarly

situated employees may readily notified of this action and allowed to “opt in” pursuant to 29

U.S.C. § 216(b), for purposes of collectively adjudicating their claims for unpaid straight time,

overtime compensation, liquidated damages, interest, attorneys’ fees, and costs under the FLSA.

                                  V.     CAUSES OF ACTION

       25.     The forgoing facts are incorporated by reference as if fully stated herein, and a

jury is hereby demanded.

       26.     Plaintiff, on behalf of himself and others similarly situated, bring the following

cause of action against Defendants:

               A. Willful failure to pay minimum wage in violation of the Fair Labor Standards

                   Act of 1938;

               B. Willful failure to pay overtime wages in violation of the Fair Labor Standards

                   Act of 1938; and

               C. Retaliation in violation of the Fair Labor Standards Act anti-retaliation

                   provision, 29 U.S.C. § 215.




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                             VI. PRAYER FOR RELIEF

    WHEREFORE, PREMISES CONSIDERED, PLAINTIFF prays for the following relief:

    A.    An Order designating this action as an opt in collective action for claims under the

          FLSA, and directing the issuance of notice pursuant to 29 U.S.C. §216(b) for the

          claims of the class;

    B.    An Order appointing Plaintiff and Plaintiff’s counsel to represent those

          individuals opting in to the collective action;

    C.    A Declaration that Defendants have willfully violated the FLSA;

    D.    An award to Plaintiff and others similarly situated who opt into this action of

          damages in the amount of all applicable minimum wage and overtime damages;

    E.    An award to Plaintiff and others similarly situated who opt into this action of

          interest and liquidated damages in an amount equal to the compensation shown to

          be owed to them pursuant to 29 U.S.C. § 216(b);

    F.    An award to Plaintiff and others similarly situated who opt into this action of

          reasonable attorneys’ fees and costs, pursuant to 29 U.S.C. § 216(b); and

    G.    An award of such other and further legal and equitable relief as may be

          appropriate.




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                                        Respectfully submitted,

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                                        SCOTT BOBBITT PLC

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